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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )
                                               )
                 v.                            )         CR 21-571-DMG
                                               )
Kenneth Arsenian,                              )
                                               )
                       Defendant.              )



                               DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on June 17, 2023

and ending on July 16, 2023. (See, Attachment 1). Attachment 1 consists of a copy of the notice on

the www.forfeiture.gov website. Attachment 2 is a copy of the Advertisement Certification

Report, which documents that the notice was posted on the www.forfeiture.gov website for at

least 18 hours a day for the required 30 consecutive days.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

July 17, 2023, at Los Angeles, CA.

                                             ______________________________

                                               Mariah Moseley
                                               Records Examiner
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Attachment 1


                        UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
           COURT CASE NUMBER: CR 21-571-DMG; NOTICE OF FORFEITURE

      Notice is hereby given that on May 02, 2022, in the case of U.S. v. Kenneth
Arsenian, Court Case Number CR 21-571-DMG, the United States District Court for the
Central District of California entered an Order condemning and forfeiting the following
property to the United States of America:

       $341,459.00 in U.S. Currency (20-ICE-003222) which was seized from Kenneth
       Arsenian on February 07, 2020 at             , located in Newport Beach, CA

       The custodian of the property is the Fines, Penalties, and Forfeitures, Department
       of Homeland Security, Bureau of Customs and Border Protection located at 301
       East Ocean Boulevard, Suite 900, Long Beach, CA 90802

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (June 17, 2023) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 255 East Temple Street, Room 180, Los Angeles, CA
90012, and a copy served upon Assistant United States Attorney Dan G. Boyle, 312 N.
Spring St., 14th Floor, Los Angeles, CA 90012. The ancillary petition shall be signed by
the petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
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made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Dan G. Boyle, 312 N. Spring St., 14th Floor, Los Angeles, CA 90012. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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